On a jury trial, the defendant was convicted of public indecency, a misdemeanor. The defendant seeks a reversal of his conviction on three grounds. First, he claims that General Statutes 54-1a, which gives the Court of Common Pleas certain criminal jurisdiction, is unconstitutional and void. We considered and rejected that claim in State v. Auclair, 33 Conn. Sup. 704. Second, he claims that the procedural requirement of a motion to set aside a verdict in a jury case is unconstitutional. *Page 786 
Since that claim was not raised and decided in the trial court, and since there is nothing in the record that brings this case within the exceptional circumstances referred to in State v. Evans, 165 Conn. 61, 70, we do not consider it. Finally, the defendant claims that a portion of the court's charge on reasonable doubt, to which he took no exception, constituted "plain error." The short answer to that claim is that it is plainly without substance. The "plain error" rule is designed to prevent injustice. It is not a catch basin for review of whatever claims an appellant desires to present.
  There is no error.
SPEZIALE, PARSKEY and SPONZO, Js., participated in this decision.